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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

DAVID SMITH ,


       Plaintiff,


-vs-                                                    Case No. 17-10095
                                                        Hon. Laurie J. Michelson



MICHIGAN RECEIVABLE MANAGEMENT, LLC, et al.

       Defendants.


             STIPULATION TO DISMISS ALL CLAIMS WITH PREJUDICE

       The parties to this stipulation agree that all claims against all defendants should be dismissed

with prejudice and without costs or attorneys fees.

Stipulated to by:




 By:    s/ Adam G. Taub_________                        By:    s/Charity A. Olson
        Adam G. Taub (P48703)                                  Charity A. Olson
        ADAM G. TAUB & ASSOCIATES                              Attorney for Defendants
        CONSUMER LAW GROUP, PLC                                2723 S. State St. Ste 150
        Attorney for David Smith                               Ann Arbor, MI 48104
        17200 West Ten Mile Rd, Ste 200                        7342225179
        Southfield, MI 48075                                   colson@olsonlawpc.com
        (248) 746-3790
        adamgtaub@clgplc.net


Dated: July 18, 2017



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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

DAVID SMITH ,


       Plaintiff,


-vs-                                                   Case No. 17-10095
                                                       Hon. Laurie J. Michelson



MICHIGAN RECEIVABLE MANAGEMENT, LLC, et al.

       Defendants.


                    ORDER DISMISSING ALL CLAIMS WITH PREJUDICE

       Based on the stipulation of the parties, all claims against all defendants are hereby dismissed

with prejudice and without costs or attorneys fees.

SO ORDERED.

                                                              s/Laurie J. Michelson
                                                              LAURIE J. MICHELSON
Dated: July 18, 2017                                          U.S. DISTRICT JUDGE




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